                        Case 1:08-cv-01351-CKK Document 31 Filed 05/04/09 Page 1 of 2
O AO 120 (Rev. 3/04)

                             Mail Stop 8                                                      REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                            FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                             ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                  TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
            filed in the U.S. District Court     for the District of Columbia       on the following      X   Patents or         G   Trademarks:
DOCKET NO.                    DATE FILED                          U.S. DISTRICT COURT
           08-1351                     8/5/08                                     FOR THE DISTRICT OF COLUMBIA
PLAINTIFF                                                                 DEFENDANT
 FONDERIE ACCIAIERIE ROIALE, S.p.A.
 Via Leonardo da Vinci no. 11                                               MAGOTTEAUX INTERNATIONAL S/A
 33010 Reana del Roiale                                                     Rue A. Dumont, Vaux-sous-Chevremont, RPM Liege, Belgium
 Udine, Italy                                                               405, 785,343
 Attorney for Plaintiff:
                                                                            MAGOTTEAUX,INC.
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 (202) 857-8982
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              OR          DATE OF PATENT
                                                                                       HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK
 1.
1              39,998                     Reissued 1/8/08                                          MAGOTTEAUX

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                    In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                    INCLUDED BY
                                                       G
                                                     Amendment                  G   Answer       G     Cross Bill          G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                       HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                    In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT

                                2/27/09 Stipulation of Dismissal entered.
                       Case 1:08-cv-01351-CKK Document 31 Filed 05/04/09 Page 2 of 2
O AO 120 (Rev. 3/04)

CLERK                                               (BY) DEPUTY CLERK                                     DATE
       Nancy Mayer-Whittington by Joe Burgess                                                                        1/7/08


Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
